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                        IN THE UNITED STATE DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

CAROL A. KELLOGG, Individually, and          )
as sole Heir-at-Law and Administrator of     )
the Estate of Lee J. Witschi, Deceased,      )
                                             )
       Plaintiff,                            )
                                             )       Case No.: 6:18-CV-01061 -JTM-JPO
               VS.                           )
                               )
THE EVANGELICAL LUTHERAN GOOD)
SAMARITAN SOCIETY d/b/a GOOD   )
SAMARITAN SOCIETY-MINNEAPOLIS, )
                               )
     Defendants.               )

                              RECEIPT AND SATISFACTION

       COMES NOW Plaintiff Carol Kellogg, by and through her counsel of record, and

hereby acknowledges that she has received from The Evangelical Lutheran Good Samaritan

Society d/b/a Good Samaritan Society - Minneapolis, payment in full of the settlement funds as

approved by the Court and complete satisfaction of all obligations owed by Defendant in the

above-captioned case. The settlement and cause are fully and finally satisfied.

                                      Respectfully submitted,


                                           Isl Tom Wagstaff. Jr.
                                     Tom Wagstaff, Jr.                KS BAR # 19511
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                                     Attorney for Plaintiff
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 2 1st day of January 2020, I fil ed the foregoing with the Court
via e-filing and sent via email to the fo llowing:

       Matthew M. Merrill - Lead Counsel
       Elizabeth Davida Moeller
       Brown & Ruprecht, PC
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       Good Samaritan Society and Good Samaritan Society - Minneapolis, Kansas




                                                       Isl Tom Wagstaff, Jr.




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